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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  ABILENE DIVISION

 KEVIN DEAN BENNETT,
 Institutional ID No. 02355208

                                  Plaintiff,

 v.                                                            No.    1:24-CV-00093-H

 ERMIAS Z. ABEBE, et al.,

                              Defendants.

                ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
      RE             ATION OF        TED STA’   MAGISTRATE                                  E

         The United States Magistrate Judge made findings, conclusions, and a

recommendation (FCR) that the Court deny Plaintiffs motion for preliminary injunction

and temporary restraining order. Plaintiff filed objections.

         “The district judge must determine de novo any part of the magistrate judge’s

disposition that has been properly objected to.” Fed. R. Civ. P. 72(a)(3); see 28 U.S.C.

§ 636(b)(1).   In contrast, the district judge reviews any unobjected-to findings, conclusions,

and recommendations for plain error. The District Court independently examined the

record and unobjected-to portions of the FCR for plain error.        Additionally, the Court has

conducted a de novo review of Plaintiffs brief objections—which amount to restatements of

arguments made in his prior pleadings, conclusory statements, or mere disagreements with

the wording of the FCR.     The Court finds no error, overrules the objections, and accepts

and adopts the findings, conclusions, and recommendation of the United States Magistrate

Judge.
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        As a result, Plaintiffs motion for preliminary injunction and temporary restraining

order, Dkt. No. 20, is denied.

        Additionally, to the extent Plaintiff's objections renew his request for appointment of

counsel, Dkt. No. 22, the Court denies the request at this time. Plaintiff's first request for

appointment of counsel was denied without prejudice to his right to renew his request after

the Court has completed screening of his case or should there be a material change of

circumstances.   Dkt. No 10. The Court finds that circumstances have not changed, and

Plaintiffs complaint remains pending judicial screening pursuant to 28 U.S.C. § 1915; thus,

the request for appointment of counsel is denied. No further motions for appointment of

counsel shall be filed until the Court has completed the screening required by 28 U.S.C.

§ 1915(e)(2).

        This case is returned to the docket of the Honorable John R. Parker to continue the

judicial screening process under 28 U.S.C. §§ 1915(e)(2) and 1915A.      See Dkt. No. 11.

        So ordered.

        Dated February (4 , 2025.



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                                                              ge SLEY HENDRIX
                                                    Unitgd States District Judge
